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                           UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION
__________________________________________
                                                  )
FEDERAL TRADE COMMISSION, and                     )
                                                  )
STATE OF FLORIDA, OFFICE OF THE                   )
ATTORNEY GENERAL, DEPARTMENT                      )
OF LEGAL AFFAIRS,                                 ) Case No. 15cv5781
                                                  )
                      Plaintiffs,                 ) Judge Gary Feinerman
                                                  )
               v.                                 ) Magistrate Judge Jeffrey T. Gilbert
                                                  )
LIFEWATCH, INC., a New York corporation,          )
also d/b/a LIFEWATCH USA and MEDICAL              )
ALARM SYSTEMS,                                    )
                                                  )
SAFE HOME SECURITY, INC., a                       )
Connecticut corporation,                          )
                                                  )
MEDGUARD ALERT, INC., a Connecticut               )
corporation,                                      )
                                                  )
EVAN SIRLIN, individually and as an officer       )
or manager of Lifewatch Inc.,                     )
                                                  )
MITCHEL MAY, individually and as an officer or )
manager of Lifewatch Inc., and                    )
                                                  )
DAVID ROMAN, individually and as an officer       )
or manager of Lifewatch Inc., Safe Home Security, )
Inc., and Medguard Alert, Inc.                    )
                                                  )
                      Defendants.                 )
__________________________________________)

                           PLAINTIFFS’ EXHIBIT 91
                     DECLARATION OF MICHAEL ROBINSON
                         PURSUANT TO 28 U.S.C. § 1746
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